
WILBUR, C. J.
This is an appeal from an order of the trial court refusing to strike from the cost bill of the plaintiff an item of $26.75 paid by the plaintiff for making a map introduced as Plaintiff’s Exhibit 7 upon the trial of the action.
It was stipulated by the parties that the map referred to in the item was prepared for use as an exhibit and was in fact so used, and that the sum paid therefor was fair and reasonable and that the map was not prepared at the request of or under the directions of the trial court nor by stipulation of either of the parties, but was made at the sole instance of the plaintiff in said action.  The court should have granted the defendant’s motion to strike out this item upon the authority of Bathgate v. Irvine, 126 Cal. 135 [77 Am. St. Rep. 158, 58 Pac. 442].
The court is directed to modify the judgment by striking out the item of $26.75 costs, appellant to have his costs on appeal.
Lennon, J., Lawlor, J., Seawell, J., Myers, J., and Kerrigan, J., concurred.
